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Lori Miller

From:                                        Lori Miller
Sent:                                        Thursday, February 7, 2019 3:33 PM
To:                                          'lashawnmiddleton3@gmail.com'
Cc:                                          'David J. Horr'; Craig P. Liszt; Sarah Valdes; Juanita Alvarez; Elli Fink; 'Donna Cosmen'
Subject:                                     5614 - Middleton, LaShawn v. Carnival - Case No. 17-cv-23158-Martinez
Attachments:                                 Order to Show Cause [DE 48].pdf; Report and Recommendation [DE 38].pdf


Good afternoon,
Pursuant to the Order to Show Cause [DE 48] dated February 7, 2019, attached please find said Order to Show Cause
and the Report and Recommendation [DE 38] dated January 14, 2019.
Lori




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